                              Case:16-19227-JGR Doc#:17 Filed:11/21/16                       Entered:11/21/16 14:07:30 Page1 of 7




                                                                 United States Bankruptcy Court
                                                                       District of Colorado

IN RE:                                                                                                                 Case Number        16-19227 JGR
         Dwayne Oren Bedker & Janet Louise Bedker                                                                           Chapter            13
                       Debtor(s)

                                                    DEBTORS' FIRST AMENDED CHAPTER 13 PLAN
                                                     INCLUDING VALUATION OF COLLATERAL
                                                        AND CLASSIFICATION OF CLAIMS

CHAPTER 13 PLAN: This chapter 13 plan dated                                November 21, 2016                   supersedes all previously filed plans.

NOTICE TO CREDITORS: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file an
objection with the bankruptcy court by the deadline fixed by the court. (Applicable deadlines given by separate notice.) If you do not file a
timely objection, you will be deemed to have accepted the terms of the plan, which may be confirmed without further notice or hearing.

MOTIONS FOR VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER
11 U.S.C. § 506 (Check any applicable box(s)):

                          This plan contains a motion for valuation of personal property collateral and determination of secured status under 11 U.S.C. §
                          506.

                          The debtor is requesting a valuation of real property collateral and determination of secured status under 11 U.S.C. § 506 by
                          separate motion. List status of motion here (i.e.. date filed, date granted, to be filed contemporaneously, etc.):



SECURED CLAIMS SUBJECT TO VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS
UNDER 11 U.S.C. § 506 (additional detail must be provided at Part IV of the plan):

                             Name of Creditor                                               Description of Collateral (pursuant to L.B.R. 3012-1)
                                  none

I.          BACKGROUND INFORMATION

            A.         Prior bankruptcies pending within one year of the petition date for this case:

                 Case Number and Chapter                                        Discharge or Dismissal/Conversion                               Date
                          none

            B.       The debtor(s):
                   X    is eligible for a discharge; or

                          is not eligible for a discharge and is not seeking a discharge.

            C.         Prior states of domicile:    within 730 days                                             none
                                                    within 910 days

            The debtor is claiming exemptions available in the         X     state of             Colorado              or       Federal exemptions.

            D.        The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C. § 101(14A).
                      Notice will/should be provided to these parties in interest:
                   1.    Spouse/Parent                                              none
                   2.    Government                                                 none
                   3.    Assignee or other                                          none

                       The debtor:

                          has provided the Trustee with the address and phone number of the Domestic Support Obligation recipient or

                   X      cannot provide the address or phone number because it/they is/are not available.

            E.         The current monthly income of the debtor, as reported on Interim Form B22C is:

                          below
                                Case:16-19227-JGR Doc#:17 Filed:11/21/16                    Entered:11/21/16 14:07:30 Page2 of 7




                           equal to, or

                 X         above the applicable median income.


II.        PLAN ANALYSIS

           A.         Total Debt Provided for under the Plan and Administrative Expenses

                 1.        Total Priority Claims (Class One)
                      a.                Unpaid attorney’s fees                              $                      3,600.00
                                        Total attorney’s fees are estimated to be           $           5,000.00
p                                       of which      $               1,400.00 has been prepaid.
                      b.                Unpaid attorney’s costs (estimated)                 $                       600.00
                      c.                Total Taxes                                         $                          -
                                        Federal:     $                     -    State:      $                -
                      d.                Other
                 2.        Total of payments to cure defaults (Class Two)                   $                           -
                 3.        Total payment on secured claims (Class Three)                    $                      1,129.28
                 4.        Total of payments on unsecured claims (Class Four)               $                      2,109.27
                 5.        Sub-total                                                        $                      7,438.55
                 6.        Total trustee's compensation (10% of debtor's payments)          $                        826.39
                 7.        Total debt and administrative expenses                           $                      8,264.94

           B.         Reconciliation with Chapter 7

       THE NET PROPERTY VALUES SET FORTH BELOW ARE LIQUIDATION VALUES RATHER THAN REPLACEMENT VALUES.
                        THE REPLACEMENT VALUES MAY APPEAR IN CLASS THREE OF THE PLAN.

                 1.      Assets available to Class Four unsecured creditors if Chapter 7 filed:
                      a. Value of debtor's interest in non-exempt property                                                             $               2,411.50

        Property                    Value          Less: Cost of Sale        Less: Liens     Debtor's Interest          Less Exemptions            =Net Value
  1985 Viking Pop-up        $               700.00 $             70.00       $          -         100%              $                 -        $         630.00
         Camper
 2012 Timberline Canoe      $               250.00 $                 25.00   $          -           50%             $                      -   $         112.50
    Stamp collection        $               100.00 $                 10.00   $          -          100%             $                      -   $          90.00
  Fishing, camping and      $               380.00 $                 38.00   $          -          100%             $                      -   $         342.00
   sporting equipment
        6 firearms          $             1,080.00 $                108.00   $          -          100%             $                   -      $         972.00
     Bellco CU chkg         $             1,000.00 $                     -                         100%             $                750.00    $         250.00
     Bellco CU svgs         $                30.00 $                     -                         100%             $                 22.50    $           7.50
 Public Service CU svgs     $                30.00 $                     -                         100%             $                 22.50    $           7.50

                      b.   Plus: value of property recoverable under avoiding powers
                      c.   Less: estimated Chapter 7 administrative expenses                                                           $                 602.88
                      d.   Less: amounts payable to priority creditors other than costs of administration                              $                    -
                      e.   Equals: estimated amount payable to Class Four creditors if Chapter 7 filed (if negative, enter zero)       $               1,808.63

                 2.        Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus any funds recovered from
                           “other property” described in Section III.A.3 below.                                                  $                     2,109.27

III.       PROPERTIES AND FUTURE EARNINGS SUBJECT TO THE SUPERVISION AND CONTROL OF THE TRUSTEE

           A.         The debtor submits to the supervision and control of the Trustee all or such portion of the debtor's future earnings or other
                      future income as is necessary for the execution of the Plan, including:

                 1.        Future earnings of        $                116.84 per month which shall be paid to the trustee for a period of
                           approximately                        2            months, beginning          September 30, 2016
                           and                       $                138.47 per month for                    58           months

                   Amount                                           Number of Months                                               Total
 $                                          116.84                         2                             $                                               233.68
 $                                          138.47                        58                             $                                             8,031.26
                                Case:16-19227-JGR Doc#:17 Filed:11/21/16                        Entered:11/21/16 14:07:30 Page3 of 7




                   2.        Amounts for the payment of Class Five post-petition claims included in above
                   3.        Other property (specify):

           AT THE TIME THE FINAL PLAN PAYMENT IS SUBMITTED TO THE TRUSTEE, THE DEBTOR SHALL FILE WITH THE
            COURT THE CERTIFICATION REGARDING DOMESTIC SUPPORT OBLIGATIONS REQUIRED BY 11 U.S.C. § 1328(a)
            AND, IF NOT ALREADY FILED, INTERIM FORM B23 REGARDING COMPLETION OF FINANCIAL MANAGEMENT
                                      INSTRUCTION REQUIRED BY 11 U.S.C. § 1328(g)(1).

             B.         Debtor agrees to make payments under the Plan as follows:

                             VOLUNTARY WAGE ASSIGNMENT TO EMPLOYER:
                             Employer’s Name, address, telephone number




                             Phone:

OR
                   X         DIRECT PAYMENT from debtor to Trustee:

Paid in the following manner:              as specified in Section III.A.1. to be deducted                    monthly
                                                                                                (weekly, monthly, per pay period, etc.)

IV.          CLASSIFICATION AND TREATMENT OF CLAIMS

         CREDITOR RIGHTS MAY BE AFFECTED. A WRITTEN OBJECTION MUST BE FILED IN ORDER TO CONTEST THE TERMS
         OF THIS PLAN. CREDITORS OTHER THAN THOSE IN CLASS TWO A AND CLASS THREE MUST FILE TIMELY PROOFS OF
                                 CLAIM IN ORDER TO RECEIVE THE APPLICABLE PAYMENTS.

             A.         Class One – Claims entitled to priority under 11 U.S.C. § 507. Unless other provision is made in paragraph V.(C),
                        each creditor in Class One shall be paid in full in deferred cash payments prior to the commencement of distributions to any
                        other class (except that the payments to the Trustee shall be made by deduction from each payment made by the debtor to
                        the Trustee) as follows:

                   1.      Allowed administrative expenses
                        a. Trustee's compensation (10% of amounts paid by debtor under this Plan)                                            $                826.39
                        b. Attorney's Fees (estimated and subject to allowance)                                                              $              3,600.00
                        c. Attorney's Costs (estimated and subject to allowance)                                                             $                600.00

                   2.        Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 (if none, indicate)

                        a. Domestic Support Obligations: A proof of claim must be timely filed in order for the Trustee to distribute amounts
                           provided by the plan.

                                         Priority support arrearage: Debtor owes past due support to
                                         in the total amount of                                             that will be paid as follows:

                             Distributed by the Trustee pursuant to the terms of the Plan; or

                             Debtor is making monthly payments via            a wage order
                                                                              or directly
             (reflected on Schedule I or J) in the amount of                                      to                                                      .
             Of that monthly amount,                               is for current support payments and                                      is to pay the arrearage.

Other:       For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with the Court and submit to the Trustee
             an update of the required information regarding Domestic Support Obligations and the status of required payments.

                        b.   Federal Taxes                                                                                                   $                    -
                        c.   State Taxes                                                                                                     $                    -
                        d.   Other Taxes (describe):                                                                                         $                    -
                        e.   Other Class One Claims (if any) (describe):

                   X         None
                                Case:16-19227-JGR Doc#:17 Filed:11/21/16                       Entered:11/21/16 14:07:30 Page4 of 7




          B.           Class Two – Defaults

                  1.        Class Two A (if none, indicate) – Claims set forth below are secured only by an interest in real property that is the
                            debtor's principal residence located at                                                                                             .
                                                                                                  (street address, city, state, and zip)

                            Defaults shall be cured and regular payments shall be made:

                  X         None

      Creditor              Total Default Amount to       Interest     Total Amount to Cure      # of Months to          Regular Payment per
                                   be Cured                 Rate             Arrearage                Cure                                         (i.e. month, week, etc.)
                             (the lesser of this amount                                                                      to be Made Directly to Creditor and Date of
                              or the amount specified                                                                                     First Payment



                  2.        Class Two B (if none, indicate) – Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by an
                            interest in real property that is the debtor's principal residence) or unsecured claims set forth below on which the last
                            payment is due after the date on which the final payment under the Plan is due. Defaults shall be cured and
                            regular payments shall be made:

                  X         None

   Creditor               Collateral      Total Default Amount to Interest     Total Amount      # of Months to Regular Payment per
                                                 be Cured           Rate          to Cure       Cure Arrearage                                     (i.e. month, week, etc.)
                                          (the lesser of this amount            Arrearage                                    to be Made Directly to Creditor and Date of
                                           or the amount specified                                                                        First Payment
                                            in the proof of claim)


                  3.        Class Two C – Executory contracts and unexpired leases. Executory contracts and unexpired leases are rejected,
                            except the following which are assumed:

                  X         None

      Creditor               Property, if any, Subject to Contract Total Amount to Cure, if      # of Months to              Regular Monthly Payment Made Directly to
                                            or Lease                        any                       Cure                         Creditor and Date of Payment


IN THE EVENT THAT DEBTOR REJECTS THE LEASE OR CONTRACT, CREDITOR SHALL FILE A PROOF OF CLAIM OR
AMENDED PROOF OF CLAIM REFLECTING THE REJECTION OF THE LEASE OR CONTRACT WITHIN 30 DAYS OF
          THE ENTRY OF THE ORDER CONFIRMING THIS PLAN, FAILING WHICH THE CLAIM MAY BE BARRED.

          C.           Class Three – All other allowed secured claims (other than those designated in Classes Two A and Two B above) shall
                       be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:

                  1.        Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with Fed. R. Bankr. P. 3012, 7004 and
                            L.B.R. 3012-1, the debtor has filed and served a separate motion for valuation of collateral and determination of secured
                            status under 11 U.S.C. § 506 as to the real property and claims listed on page 1 of this plan and below. The plan is subject
                            to the court’s order on the debtor’s motion. If the court grants the debtor’s motion, the creditor will have an unsecured
                            claim in the amount of the debt as stated in any timely filed, allowed proof of claim, including such claims filed within thirty
                            days from entry of an order determining secured status under FED. R. BANKR. P. 3002(c)(1) and (3). The creditors listed on
                            page 1 and below shall retain the liens securing their claims until discharge under 11 U.S.C. § 1328, or, if the debtor is not
                            eligible for a discharge, upon the debtor's successful completion of all plan payments and the closing of the case.



               Creditor                         Description of Collateral (pursuant to L.B.R. 3012-1)                 Amount of Debt as           Proof of Claim amount, if
                                                                                                                         Scheduled                           any
                none

                  2.        Secured claims subject to 11 U.S.C. § 506 (Personal Property): The debtor moves the court, through this
                            chapter 13 plan, for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding the
                            personal property and claims below. The following creditors shall retain the liens securing their claims until discharge
                            under 11 U.S.C. § 1328 or payment in full under nonbankruptcy law.

                  X         None
                                     Case:16-19227-JGR Doc#:17 Filed:11/21/16                    Entered:11/21/16 14:07:30 Page5 of 7




                     a.        The following creditors shall be paid the value of their interest in the collateral. Any remaining portion of the allowed claim shall
                               be treated as a general unsecured claim.

    Creditor               Description of Collateral      Confirmation Value of         Amount of Debt as     Interest     Adequate         Total Amount Payable
                                                                Collateral                 Scheduled            Rate       Protection
                                                                                                                            Payment

                     b. The following creditors shall be paid the remaining balance payable on the debt over the period required to pay
                        the sum in full.

    Creditor               Description of Collateral      Confirmation Value of         Amount of Debt as     Interest     Adequate         Total Amount Payable
                                                                Collateral                 Scheduled            Rate       Protection
                                                                                                                            Payment

If adequate protection payments are indicated, such payments will be made by the trustee to the creditors indicated above until such time that superior class
creditors are paid in full. Any adequate protection payments made will be subtracted from the total amount payable. Unless otherwise provided, adequate
protection payments will accrue from the date of filing but will not be made until the creditor has filed a proof of claim.

                     3.        Secured claims to which 11 U.S. C. § 506 shall not apply (personal property). The following creditors shall retain
                               the liens securing their claims, and they shall be paid the amount specified which represents the remaining balance payable
                               on the debt over the period required to pay the sum in full:

                 Creditor                                Description of Collateral                Amount of Debt as       Interest Rate     Total Amount Payable
                                                                                                     Scheduled
      Adams County Treasurer                     2430 Galena Street, Aurora, CO 80010            $           1,024.40          3%          $                 1,129.28

                     4.        Property being surrendered: The debtor surrenders the following property securing an allowed secured claim to the
                               holder of such claim:

                          Creditor                                                   Property                                  Anticipated Date of Surrender
                           none

                               Relief from the automatic stay to permit enforcement of the liens encumbering surrendered property shall be deemed
                               granted by the Court at the time of confirmation of this Plan. With respect to property surrendered, no distribution on the
                               creditor’s claim shall be made unless that creditor files a proof of claim or an amended proof of claim to take into account
                               the surrender of the property.

      IF DEBTOR IS PROPOSING TO MODIFY THE RIGHTS OF CREDITORS IN CLASS TWO AND/OR THREE, DEBTOR MUST
           SPECIFICALLY SERVE SUCH CREDITOR IN THE MANNER SPECIFIED IN FED. R. BANKR. P. 9014 AND 7004.


            D.             Class Four – Allowed unsecured claims not otherwise referred to in the Plan. Class Four Claims are provided for in
                           an amount not less than the greater of:

                     1.        The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth in Part II; or
                     2.        Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325(b)(1)-(4).

                               The monthly disposable income of $                 105.15 has been calculated on Form B22C (Chapter 13). Total
                               disposable income is    $              6,309.17 which is the product of monthly disposable income of   $       105.15
                               times the applicable commitment period of         60        months.

                     a. X Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment by the Trustee of all
                          prior classes; or

                     b.        Class Four claims are divided into more than one class as follows:


                               A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C. § 523(a)(2), (4), or (6), will share
                               pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is dismissed, converted to a
                               Chapter 7 or discharge enters, unless ordered otherwise.


            E.             Class Five (if none, indicate) – Post-petition claims allowed under 11 U.S.C. § 1305. Post-petition claims allowed
                           under 11 U.S.C. § 1305 shall be paid as follows:
                                  Case:16-19227-JGR Doc#:17 Filed:11/21/16                     Entered:11/21/16 14:07:30 Page6 of 7




                     X       None

V.          OTHER PROVISIONS

            A.            Payment will be made directly to the creditor by the debtor(s) on the following claims:

                 Creditor                                    Collateral, if any                     Monthly Payment Amount            No. of Months to Payoff
                Chase                              2340 Galena Street Aurora, CO 80010          $                        698.88                60+
               Ditech                              2340 Galena Street Aurora, CO 80010          $                      1,090.52                60+
        Bellco Credit Union                           2008 Chevrolet Silverado 1500             $                        269.70                 68
     Public Service Credit Union                         2013 Chevrolet Equinox                 $                        290.56                 67

            B.            The effective date of this Plan shall be the date of entry of the Order of Confirmation.

            C.            Order of Distribution:

                     1. X The amounts to be paid to the Class One creditors shall be paid in full, except that the Chapter 13 Trustee’s fee shall be paid up
                          to, but not more than, the amount accrued on actual payments made to date. After payment of the Class One creditors,
                          distributions shall be made to creditors in Classes Three and Four. Class Three creditors shall be paid in full before distributions
                          to Class Four creditors. Distributions under the plan to unsecured creditors will only be made to creditors whose claims are
                          allowed and are timely filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and after payments are made to Class One and Three
                          above in the manner specified in Section IV.




                     2.      Distributions to classes of creditors shall be in accordance with the order set forth above, except:


            D.            Motions to Void Liens under 11 U.S.C. § 522(f). In accordance with Fed. R. Bankr. P. 4003(d), the debtor intends to file
                          or has filed, by separate motion served in accordance with Fed. R. Bankr. P. 7004, a motion to void lien pursuant to
                          11 U.S.C. § 522(f) as to the secured creditors listed below:

                 Creditor                              Collateral, if any             Date Motion to Void Lien Filed         Date of Order Granting Motion or
                                                                                                                                         Pending
                  none

            E.            Student Loans:

                             No student loans

                     X       Student loans are to be treated as an unsecured Class Four claim or as follows:




            F.            Restitution:

                     X       No restitution owed.

                             Debtor owes restitution in the total amount of                               which is paid directly to
                             in the amount of                                     per month for a period of                             months.

                             Debtor owes restitution to be paid as follows:


            G.            Other

NOTE TO ALL CREDITORS--READ CAREFULLY.

1           RELIEF FROM STAY: In the event relief from stay enters for the benefit of a creditor listed in Section V.A., supra, then subject
            property shall be deemed surrendered as if the creditor were scheduled under Section IV.C.4., supra.

2           RESUMPTION OF MONTHLY STATEMENTS: Confirmation of this plan shall constitute consent by the Debtors to receive
            regular monthly statements or invoices as well as notices of changes in payment addresses from creditors listed in Section V.A., supra.
                               Case:16-19227-JGR Doc#:17 Filed:11/21/16                         Entered:11/21/16 14:07:30 Page7 of 7




VI.           REVESTMENT OF PROPERTY IN DEBTOR

All property of the estate shall vest in the debtor at the time of confirmation of this Plan.

VII.          INSURANCE

Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and          X will            will not (check one)
be obtained and kept in force throughout the period of the Plan.


      Creditor to Whom This Applies                Collateral Covered                 Coverage Amount       Insurance Company, Policy No. and Agent Name,
                                                                                                                      Address and Telephone No.
                  Chase                     2340 Galena Street Aurora, CO
                 Ditech                     2340 Galena Street Aurora, CO
          Bellco Credit Union               2008 Chevrolet Silverado 1500
       Public Service Credit Union             2013 Chevrolet Equinox

                           Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.

VIII.         POST-CONFIRMATION MODIFICATION

The debtor must file and serve upon all parties in interest a modified plan which will provide for allowed priority and allowed secured claims which
were not filed and/or liquidated at the time of confirmation. The value of property to satisfy 11 U.S.C. § 1325(a)(4) may be increased or reduced
with the modification if appropriate. The modification will be filed no later than one year after the petition date. Failure of the debtor to file the
modification may be grounds for dismissal.


Dated:                November 21, 2016                               By: /s/                               Dwayne Oren Bedker
                                                                                Signature of Debtor

Dated:                November 21, 2016                               By: /s/                               Janet Louise Bedker
                                                                                Signature of Joint Debtor

Dated:                November 21, 2016                             By: /s/                                 Michael Wink
                                                                 Counsel to                    Dwayne Oren Bedker & Janet Louise Bedker
                                                                          Attorney Registration Number                      32433
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